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                                  In 2016 there was a golf recruit from Thailand. The
          father wanted to make a donation to get his child,             into USC.
                      was a real golfer. The father paid $3 million dollars to get
                      into USC. (PAT) HAYDEN (HAYDEN) negotiated the deal
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